
83 So. 3d 1001 (2012)
Tyrone WILLIAMS, Appellant,
v.
STATE of Florida, Appellee.
No. 1D10-5021.
District Court of Appeal of Florida, First District.
March 29, 2012.
Nancy A. Daniels, Public Defender, and Richard M. Summa, Assistant Public Defender, Tallahassee, for Appellant.
Pamela Jo Bondi, Attorney General, and Donna A. Gerace, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
The appellant's convictions and sentences are affirmed. The appellant was on probation for an attempted sexual battery when he committed the sexual battery and robbery in this case, and his status as a probationer satisfied the requirement for an enhanced sentence as a dangerous sexual offender under section 794.0115(2)(d), Florida Statutes, that the appellant be "under the jurisdiction of a court for a felony offense" when he committed the sexual battery.
PADOVANO, LEWIS, and CLARK, JJ., concur.
